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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                        8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )               ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


            Pursuant to the memorandum opinion entered herein this

date,

            IT IS ORDERED:

            1) Defendant’s motion to correct a clerical error in a

Judgment Order, or other part of the record is denied.

            2) Defendant’s motion to appoint counsel to represent

the petitioner in this case is denied.

            DATED this 2nd day of October, 2015.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
